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in BY : D.C.
lN THE UN|TED STATES DlSTRlCT COURT _
FoR THE wEsTERN blsTRicT oF TENNEssEE 05 JUL -7 n ¢,, 5|
WESTERN DIVIS|ON

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coNs'rANcE AMos, )
)
Plaintiffs, )
v. ) clviL AchoN No.
) 2:00-cv-2923 MayIA
AuTozoNE, iNc. )
l
Defendant.

 

ORDER DlSMlSSlNG PLAINT|FF EQUAL EMPLOYMENT OPPORTUNlTY
COMMISSION’S PATTERN O`R PRACTICE CLAlM CONCERN|NG FA|LURE TO
PROMOTE AFR|CAN AMERICANS lNTO OFFIClAL IMANAGER POS|T|ONS

 

This matter is before the Court upon Plaintiff Equai Employment Opportunity
Commission’s motion to dismiss the claim in this lawsuit that Defendant engaged in a
pattern or practice of failing to promote African Americans into official/manager positions
because of race. The Defendant does not oppose the motion. After review of the motion
and for good cause shown, the Commission's motion is hereby granted.

According|y, P|aintiff’s claim that Defendant engaged in a pattern or practice of failing
to promote African Americans into official/manager positions because of race is hereby
dismissed with prejudice, The Commission intends to continue to pursue disparate
treatment claims of promotion discrimination on behalf of individual class members

Each party shail bear its own costs concerning the dismissal of the claim that

Defendant engaged in a pattern or practice of failure to promote African Americans into

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official/manager positions, based on race.

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SAMUEL H. MAYS, JR.

 

 

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 244 in
case 2:00-CV-02923 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DlSTRlCT COURT

